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                                                I]NITED STATES BANKRUPTCY COURT
                                                    MIDDLE DISTRICT OF FLORIDA
                                                         ORLANDO DIVISION
                                                            flmb.uscourts.gov

In Re:

INTERNATIONAL IRON, LLC                                                          CASE NO:      6:   19-bk-00724-KSJ

                                      Debtor.


                   CROSS NOTICE OF RULE 2OO4 EXAMIN ATION AND REOUEST FOR
                                 PRODUCTION O F'DOCI]MENTS

                 U.S. BANK EQUIPMENT FINANCE, a division of U.S. Bank, National Association,                                  a


national banking association, a creditor of the Debtor and a party in interest ("Creditor"), by and

through its undersigned attorney, pursuant to Bankruptcy Rule 2004, and Local Rule 2004-1,

hereby gives notice that it                      will examine Jon M. Hall, Jr., individually   as   well   as   in his capacity

as the trustee                     of the Jon Mark Hall, Jr. Revocable Trust dated August 4,2005, as amended and

restated June 23, 2014 (the "JMH Trust"), and                            in his capacity as the president/manager of

International Iron, LLC ("Debtor") undel oath on Wednesday, June 72,2019, at9:30 A.M. at

the office of First Choice Repofiing, 20 N. Orange Ave., Suite 1108, Orlando,                          FL       32801.

                 This examination is pursuant to Bankruptcy Rule 2004 and will be taken before an officer

autliorized to record the testimony. The scope of the examinations shall be as described in Rule

2004, includirrg but not lirnited to Mr. Hall's and the JMH Trust's financial interests and assets.

inclucling but not lirnited to any of Mr. Hall's other revocable trusts or trusts (if any), the value of

Mr. Hall's il'lterest in such trust (or trusts), including but not limited to the .IHM Trust, the assets

owned by such tmst (or those trusts), as well as by the JHM Trust, ittcome received by that trust

(or'trusts), as well as by the .THM Tlust, limited liability companies in which Mr. Hall and/or the

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trust(s) own an inters, his and his trust's ownership interest in Debtor as well as in the Jon H,

Hall Company LLC, and Atlantic Pipe Services, LLC, and the value thereof, his ability to fund

the proposed Chapter 11 First Amended Plan as well as to pay creditors; claims, the Debtor's

financial affairs both post-petition and in the three years preceding the filing of this Chapter                    11


case; the Debtor's assets and               liabilities, solvency and liquidity, any papers filed by Debtor in this

bankruptcy case, including the Schedules and Statement of Financial Affairs, any claims against

the Debtor's estate or other interested parties.

         Pursuant to Local Rule 2001-1, no order shall be necessary.

         Request           for Production of Documents: Mr. Hall and Debtor                          must product to

undersigned counsel for Creditor, within                  2l    days after service   of this Notice (i.e., on or before

June 4, 2019), the documents, electronically stored information, or objects described on the

attached     Exhibit A.        and must permit inspection, copying, testing or sampling of the materials.

         Dated          this/f      day   of May, 2019,

                                                                    lsl Jason Ward Johnson
                                                                   Jason Ward Johnson
                                                                   Florida Bar No.: 0186538
                                                                  j ason j ohnson@lowndes-law. com
                                                                   David E. Peterson
                                                                   Florida Bar No.: 0373230
                                                                  david.peterson@ I owndes- I aw.co_ur
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                                                                  & Reed, P.A.
                                                                  215 North Eola Drive
                                                                  Post Office Box 2809
                                                                  Orlando, Florida 32802-2809
                                                                  Telephone: (407) 843-4600
                                                                  Telecopier (407) 843-4444
                                                                  Attorneys for U.S. Bank Equipment Finance, a
                                                                  division of U.S. Bank, National Association, a
                                                                  national banking association

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                                           CERTIFICATE OF SERVICE

             I   HEREBY CERTIFY that on this               ilday
                                                           *     of May, 2019, I electronically frled tlie
foregoing Cros.s-Notice of Rule 2004 Exantination and Request                 for Production of Docuntents
with the Clerk of the Court pursuant to this Court's December 30,2003 Revised Administrative

Order Governing Electronic Case Management by using the Case Management/Electronic Case

Filing ("CM/ECF") system which will send a notice of electronic filing, and                 I will complete
service        of the       foregoing as required   by Rule 5, Federal Rules of Civil      Procedure, made

applicable by Rule 7005, Federal Rules of Bankruptcy Procedure, to those on the following

Service List:


                                                                  lsl Jason Ward Johnson


Service List:

Debtor: International Iron, LLC
                 1920 Boothe Circle, Suite 230
                 Longwood,FL 32750




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                                                    EXHIBIT A

                                           Definitions and Instructions

          The following definitions apply to this Request.

          Pursuant to Rule 2004(c), Creditor request that Jon M. Hall, Jr.) who hereinafter may be

ref-erred to as       "Mr. Hall')   and Debtor, Intelnational Iron,   LLC, provide documents responsive to

the following Document Request on or before 21 days from the date of filing this Notice of

2004 Examination. Creditor requests that the documents and information be provided to Jason

Ward.Iohnson, Esq., Lowndes, Drosdick, Doster, Kantor                 &   Reed, P.A.,215 Nolth Eola Drive,

Orlando,         FL    32802. Responses and documents may also be e-rnailed to Mr. Johnson              at

j   ason j ohnson@lowndes-law. com.


            i.        The following request are directed to Mr. Hall, the Debtor and to its attorney

herein. Unless otherwise indicated, the terms "Debtor," "you," and "yollr" refer to the Debtor,

Intemational Iron,        LLC.      The term "Mr. Hall" shall refer to Jon M. Hall, Jr. who may also be

known as Jon M. Hall, also as Jon Mark Hall, Jr., who is the trustee of the.TMH Trust as well           as


president/manager of Debtor. For the purposes of this Document Request, these terms include

any person or entity affiliated with         Ml. Hall, the JMH Tlust or the Debtor, any person or entity

that had or has any responsibility for Mr. Hall's or the .iMH Trust's or the Debtor's accounts, and

any person authorized to act on behalf of Debtor, including attorneys.

          2.          The words "docurnent" or "documents" shall mean the unexpurgated oliginal and

each unexpurgated non-identical copy (whether different fiom the original because o1'rnarginal

note, or other material inserted therein, or attached thereto to otherwise) of any written. graphic,

or electronic matter, however produced or reproduced, whether sent or received, or neither.

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including drafts arrd both sides thereof, and including, but not limited to: videotapes; fihn;

audiotapes; papers; books;. letters; correspondence; e-mails; telegrams; cables; telex messages;

facsimiles; memoranda; notes; notations; work papers; transcripts, minutes, reports, and

recordings of telephone or other conversations, or of interviews, conferences or other meetings;

maps; charts; plans; specifications; diagrams; photographs; affidavits; statements; summaries;

opinions; reports; investigative materials; studies; analyses; evaluations; contracts; agreements;

invoices; purchase orders; work orders; work authorities; cancelled checks; delivery tickets or

receipts; ledgers, journals; statistical records; desk calendars; appointment books; diaries;

expenses account records; lists; tabulations; summaries; sound recoldings; computer printouts;

data processing input and output; microfilms; ledgers, any other records, kept by electronic,

photographic or mechanical means; and items similar to any of the foregoing.

        3.       "Communication" shall be construed in its broadest sense and shall mean every

manner means of disclosure, transfer or exchange, and every disclosure, transfel or exchange      of

information, whether orally or face-to-face or by telephone, mail, personal delivery, document or

otherwise.

        4.       "Financial Statements" shall mean all quarterly and annual financial statements,

profit and loss statements, balance sheets, and the like, whether prepared by the Debtor or by    an

account, book-keeper, or other professional.

        5.       In the event that   yor,r refuse   to produce a requested document on the basis of   a


claim of privilege or immunity, please plovide the following infbrmation for that document:

author; addressee; indicated or blind copies; date; subject matter; number of pages; attachments

or appendices; all persons to whom the document was distributed. shown or explained; present

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custodian; the nature                       of the privilege or other irnmunity that is being asserted (e.g., work
product); and describe with palticularity the circumstances upon which you rly to support youl'

claim.




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                                               Documents to be Produced
                                                     By Mr. Hall

            L           All   Financial Statements, loan applications, as well as any list    of   assets and

liability submitted by your or the JMH Trust to any person or entity within the last 3 years.

           2.           Your last pay stub(s.)

           3.           The last 3 statements for each bank, savings, credit union, other financial account

in which you, either individually or as trustee, have an interest.

           4.           Your last 2 income tax returns filed.

           5.           The last 2 income tax returns filed for:

                        a.    The JMH Trust;

                        b.    The Jon M. Hall Company,      LLC;

                        c. Atlantic Pipe Services, LLC;
                        d.    HCME, LLC;

                        e.    MMEH Holdings, LLC;

                        f.    Direct Track 1 LLC:

                        g. II Rent, LLC;
                        h.    JMH Holdings, Inc.; and

                        i.    JMH Infrastructure Service, LLC.

           6.           Any deeds or title to any real or personal property you, either individually or    as


trustee own or are buying, as well as leases for propelty yoll, either individually or as trustee, are

renting.




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                                                            By Debtor

                 7.            All   Financial Statements for the Debtor relating to the Calendar Years 2016,

2077 , and 201 8.


                 8.            All   documents relating   to distributions made by the Debtor to holders of   the

Debtor's membership interests, including, but not limited to, distributions made to Jon M. Hall,

Jr., and/or the JMH Trust.

                 9.            All documents reflecting payments, whether of salary, bonus, loan repayments, or

otherwise, in cash or other property, by Debtor to or for the benefit of Jon M. Hall, Jr. from

January 1,2016, to present date.

                 10. All records for the Debtor's checking or money market account(s)              from January

1,2016, to present date, including, without limitation, bank statements, cancelled checks, and

duplicate checks.

                 I   1. All tax returns (including all attachments and schedules) nteA' Uy the Debtor with
the Internal Revenue Service or the State of Florida Depaftment of Revenue for the tax years

2015,2016,2071, and                       201 8.


                  12. All documents that evidence transfers or other dispositions of any of the Debtor's
assets, by            gift, sale or otherwise within the two years prior to February 1,2019.

                  13.         All loan applications competed by or for the Debtor or on its behalf since January

1,2016.

                  14. All other documents in which you have disclosed or set forth the Debtor's
financial condition from January 1,2016 to present date.




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               15. All       ledger books, accountant books, QuickBooks files, or other documents

evidencing your business transactions from .Tanuary 1,2076 to present date.




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